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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW PERRONG, individually and                    :
 on behalf of all others similarly situated,         :   Civil File No.
                                                     :
        Plaintiff,                                   :
                                                     :
                                                     :   COMPLAINT – CLASS ACTION
 v.                                                  :
                                                     :
 TIMESHARE HELP SOURCE, LLC                          :
                                                     :
        Defendant.                                   :


                                      Preliminary Statement

       1.      Telemarketing calls are intrusive. A great many people object to these calls,

which interfere with their lives, tie up their phone lines, and cause confusion and disruption on

phone records. Faced with growing public criticism of abusive telephone marketing practices,

Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105

Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response

to Americans ‘outraged over the proliferation of intrusive, nuisance calls to their homes from

telemarketers’ id. § 2(6), and sought to strike a balance between ‘[i]ndividuals’ privacy rights,

public safety interests, and commercial freedoms’ id. § 2(9).

       2.      “The law opted for a consumer-driven process that would allow objecting

individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry

stands out as a model of clarity. It means what it says. If a person wishes to no longer receive


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telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an

abusive telemarketing act or practice and a violation of this Rule for a telemarketer to . . .

initiat[e] any outbound telephone call to a person when . . . [t]hat person’s telephone number is

on the “do-not-call” registry, maintained by the Commission.’)…Private suits can seek either

monetary or injunctive relief. Id…This private cause of action is a straightforward provision

designed to achieve a straightforward result. Congress enacted the law to protect against

invasions of privacy that were harming people. The law empowers each person to protect his

own personal rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA

affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon

their domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

       3.      The Plaintiff Andrew Perrong alleges that Timeshare Help Source, LLC

(“Timeshare Help”) made unsolicited telemarketing calls to his residential telephone number that

is listed on the National Do Not Call Registry.

       4.      Because telemarketing calls typically use technology capable of generating

thousands of similar calls per day, the Plaintiff sues on behalf of a proposed nationwide class of

other persons who received similar calls.

       5.      A class action is the best means of obtaining redress for the Defendant’s illegal

telemarketing and is consistent both with the private right of action afforded by the TCPA and

the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                               Parties

       6.      Plaintiff Andrew Perrong is an individual residing in Pennsylvania in this District.


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            7.      Defendant Timeshare Help Source, LLC a Colorado limited liability company

  that makes telemarketing calls into this District, just as it did with the Plaintiff.

                                           Jurisdiction & Venue

        8.          The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

        9.          The Court has personal jurisdiction over Defendant because it made calls into this

District.

        10.         Venue is proper under 28 U.S.C. § 1391(b) because the calls at issue were made

into this District.

                                           TCPA Background

            11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

  telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

  can be an intrusive invasion of privacy[.]” Telephone Consumer Protection Act of 1991, Pub. L.

  No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

            12.     The National Do Not Call Registry (the “Registry”) allows consumers to register

  their telephone numbers and thereby indicate their desire not to receive telephone solicitations at

  those numbers. See 47 C.F.R. § 64.1200(c)(2).

            13.     A listing on the Registry “must be honored indefinitely, or until the registration is

  cancelled by the consumer or the telephone number is removed by the database administrator.”

  Id.

            14.     The TCPA and implementing regulations prohibit the initiation of telephone

  solicitations to residential telephone subscribers to the Registry and provide a private right of


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action against any entity that makes those calls, or “on whose behalf” such calls are promoted.

47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).



                                          Factual Allegations

        15.      Timeshare Help sells services where it offers to help timeshare owners negotiate

and exit their timeshares.

        16.      To generate leads, Timeshare Help makes telemarketing calls to consumers who

have never had a relationship with Timeshare Help and who have never consented to receive

their calls.

        17.      Plaintiff is, and at all times mentioned herein was, a “person” as defined by

47 U.S.C. § 153(39).

        18.      Plaintiff’s telephone number (the “Number”), 215-947-XXXX, is on the National

Do Not Call Registry and has been continuously since 2005.

        19.      Despite this, the Defendant placed two telemarketing calls to Mr. Perrong on

March 10, 2022.

        20.      The Plaintiff did not answer the first telemarketing call, and the caller left no

message.

        21.      Despite that, and the fact that he was on the National Do Not Call Registry, the

Defendant made another telemarketing call to the Plaintiff.

        22.      During the call, “Lexi” solicited Mr. Perrong to attend a presentation promoting

the services of the Defendant.




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         23.    “Lexi” asserted that the solicitation was being sent to time share owners regarding

 how COVID-19 has severely impacted the timeshare industry, such as inreservations,

 maintenance fees, mortgages, and potential special assessments.

         24.    “Lexi” then further solicited the Plaintiff to attend a lunch where the Defendant’s

 services would be further promoted.

         25.    Plaintiff’s privacy has been violated by the above-described telemarketing calls.

         26.    The Plaintiff never provided his consent or requested these calls.

         27.    Plaintiff and all members of the Class, defined below, have been harmed by the

 acts of Defendant because their privacy has been violated, they were annoyed and harassed.

         28.    In addition, the calls occupied their telephone lines, rendering them unavailable for

 legitimate communication.


                                       Class Action Allegations

        29.      As authorized by Rule 23(b)(2) or (b)(3) of the Federal Rules of Civil Procedure,

Plaintiff brings this action on behalf of a class of all other persons or entities similarly situated

throughout the United States.

         30.     The class of persons Plaintiff proposes to represent is tentatively defined as:

         National Do Not Call Registry Class: All persons in the United States whose (1)
         telephone numbers were on the National Do Not Call Registry for at least 31 days,
         (2) but who received more than one telemarketing calls from or on behalf of
         Defendant (3) within a 12-month period, (4) from four years prior the filing of the
         Complaint.

 This is referred to as the “Class”.




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       31.       Excluded from the Class are counsel, the Defendant, and any entities in which the

Defendant have a controlling interest, the Defendant’s agents and employees, any judge to whom

this action is assigned, and any member of such judge’s staff and immediate family.

       32.       The Class as defined above are identifiable through phone records and phone

number databases.

       33.       The potential members of the Class number at least in the thousands.

       34.       Individual joinder of these persons is impracticable.

       35.       The Plaintiff is a member of the Class.

       36.       There are questions of law and fact common to Plaintiff and to the proposed

Class, including but not limited to the following:

                 (a) whether Defendant systematically made multiple telephone calls to members
                     of the National Do Not Call Registry Class;

                 (b) whether Defendant made calls to Plaintiff and members of the Classes without
                     first obtaining prior express written consent to make the calls;

                 (c) whether Defendant’s conduct constitutes a violation of the TCPA;

                 (d) whether members of the Class are entitled to treble damages based on the
                     willfulness of Defendant’s conduct.


       37.       Plaintiff’s claims are typical of the claims of members of the Class.

       38.       Plaintiff is an adequate representative of the Class because his interests do not

conflict with the interests of the Class, he will fairly and adequately protect the interests of the

Class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.




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       39.     Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or their agents.

       40.     The likelihood that individual members of the class will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.



                                 FIRST CAUSE OF ACTION

                            Telephone Consumer Protection Act
                                (Violations of 47 U.S.C. § 227)
             (On Behalf of Plaintiff and the National Do Not Call Registry Class)

       41.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       42.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

purposes, to the Plaintiff and the Class despite their numbers being on the National Do Not Call

Registry.

       43.     The Defendant’s violations were negligent, willful, or knowing.

       44.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the Class presumptively are entitled to an award of between $500 and $1,500 in

damages for each and every call made.


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       45.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendant and/or its affiliates, agents, and/or other persons or entities acting on

Defendant’s behalf from making telemarketing calls to numbers on the National Do Not Call

Registry, except for emergency purposes, in the future.



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

       A.      Certification of the proposed Class;

       B.      Appointment of Plaintiff as a representative of the Class;

       C.      Appointment of the undersigned counsel as counsel for the Class;

       D.      A declaration that Defendant and/or their affiliates, agents, and/or other related

entities’ actions complained of herein violate the TCPA;

       E.      Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendant and/or its affiliates, agents, and/or other persons or entities acting on

Defendant’s behalf from making calls, except for emergency purposes, to any residential number

listed on the National Do Not Call Registry in the future.

       F.      An award to Plaintiff and the Class of damages, as allowed by law; and

       G.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.




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                              JURY DEMAND

Plaintiff requests a jury trial as to all claims of the complaint so triable.


                                      Respectfully submitted,


                                      /s/ Jeremy C. Jackson
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